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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Kiesque, Incorporated                         )
                                              )
v.                                            )       Case No. 18-cv-7761
                                              )
THE PARTNERSHIPS and                          )       Judge: Hon. Charles P. Kocoras
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A”                    )       Magistrate: Hon. Mary M. Rowland
                                              )
                                              )

                                       Voluntary Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Kiesque Incorporated, voluntarily

dismiss any and all claims against defendants without prejudice:

 Doe   Store Name              Merchant ID
 54    BONNIE GIRL             1273059
 355   enjoyours               enjoyours
 418   cherryss                5850c954b9e3476ffaed79d4
 589   winhorse666             59dedcbd76a7e006abdc5f16



Dated: April 2, 2019
                                              Respectfully submitted,


                                              By:      s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record

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